Case No. 1:10-cr-00614-NYW Document 122 filed 08/30/11 USDC Colorado pg 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                  Honorable Marcia S. Krieger

 Criminal Action No. 10-cr-00614-MSK

 UNITED STATES OF AMERICA,

                Plaintiff,

 v.

 1. MARTIN JAVIER ALAMOS-GARCIA,
 2. NOE ALAMOS-MONTES,
 3. DIONISIO SALGADO-MEZA,
 4. EFRAIN SALGADO-MEZA,
 5. MARIBEL SALGADO,
    AKA “CLARA SANCHEZ” and
 6. MARISELA SALGADO,

                Defendants.


      ORDER AND NOTICE OF CHANGE OF PLEA AND SENTENCING HEARINGS


        THIS MATTER comes before the Court following the filing of a Notice of Disposition

 (#121) on August 24, 2011, by Defendant Efrain Salgado-Meza. The Court construes this Notice

 as a motion to change his plea and to have the Court consider the terms of the parties’ plea

 agreement.

        IT IS THEREFORE ORDERED that:

        1.      Pursuant to 18 U.S.C. § 3161(h)(1)(F) and (I), the speedy trial clock is tolled

                pending determination of those matters.

        2.      A Change of Plea hearing is set for October 3, 2011, at 3:30 p.m. and a

                Sentencing hearing is set for January 30, 2012, at 1:30 p.m. in the United States

                District Court for the District of Colorado, Courtroom A901, Alfred A. Arraj U.S.
Case No. 1:10-cr-00614-NYW Document 122 filed 08/30/11 USDC Colorado pg 2 of 2




                   Courthouse, 901 19th Street, Denver, Colorado.1

          3.       The motion hearing set for September 8, 2011, the final trial preparation

                   conference set for October 7, 2011, and the October 11, 2011, trial date are

                   VACATED.

          Dated this 30th day of August, 2011.

                                                                BY THE COURT:




                                                                Marcia S. Krieger
                                                                United States District Judge




          1
             In criminal cases originating from the Grand Junction or Durango Jury Divisions of this Court, counsel
 shall be prepared to advise the Court at the time of the change of plea hearing whether a written request to have the
 sentencing hearing conducted at the courthouse in either Grand Junction or Durango will be filed. See
 Administrative Order 2007-8.
